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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

JANE DOE, et al.,                            )
                                             )
                     Plaintiffs,             )
                                             )
and                                          )
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff-Intervenor,   )
                                             )
v.                                           )   NO. 11-cv-01999-JNE-SER
                                             )
ANOKA-HENNEPIN SCHOOL                        )
DISTRICT NO. 11, et al.,                     )
                                             )
                     Defendants.             )
                                             )
              and                            )
                                             )
E.R., by her next friend and parent,         )
Quana Hollie,                                )
                                             )
                     Plaintiff,              )
                                             )
and                                          )
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff-Intervenor,   )
                                             )
v.                                           )   NO. 11-cv-02282-JNE-SER
                                             )
ANOKA-HENNEPIN SCHOOL                        )
DISTRICT NO. 11, et al.,                     )
                                             )
                     Defendants.             )

                 MEMORANDUM OF LAW IN SUPPORT
      OF JOINT MOTION TO APPROVE PROPOSED CONSENT DECREE
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       Student plaintiff Jane Doe and student plaintiffs K.R., D.F., B.G., D.M.-B., and

E.R., by and through their next friends and parents (collectively ―Student Plaintiffs‖);

Defendant Anoka-Hennepin School District, its School Board, and certain school

officials named in the complaints (together, the ―District‖); and the Plaintiff-Intervenor

United States1 hereby submit this Memorandum in Support of the Proposed Consent

Decree on behalf of all the parties to this litigation, asserting that the proposed Consent

Decree is in the public interest. The Parties therefore request that this Court enter the

proposed Consent Decree and order its implementation.

I.     The Proposed Consent Decree Springs From and Serves to Resolve a Dispute
       Within this Court’s Subject Matter Jurisdiction.

       First, both the Student Plaintiffs and the Plaintiff-Intervenor United States assert

claims within this Court‘s jurisdiction. See E.E.O.C. v. Product Fabricators, Inc., ---

F.3d ----, 2012 WL 264605 at *2 (8th Cir. Jan. 31, 2012) (―[c]onsent decrees should:

spring from—and serve to resolve—a dispute within the court's subject-matter

jurisdiction‖) (citing Local Number 93, Int’l Ass’n of Firefighters v. City of Cleveland,

478 U.S. 501, 525 (1986)).

       The Student Plaintiffs‘ complaints raise claims of sex discrimination under

Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681–1688 (―Title IX‖),

and claims of sexual orientation discrimination under both the Equal Protection Clause of


1
        For purposes of this Memorandum, ―United States‖ refers to the United States
Department of Justice (―DOJ‖) and the United States Department of Education, through
its Office for Civil Rights (―OCR‖).

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the 14th Amendment to the U.S. Constitution and the Minnesota Human Rights Act,

Minn. Stat. § 363A.13–.14 (―MHRA‖). The MHRA instructs, inter alia, that public

schools may not discriminate on the basis of sexual orientation. Pursuant to 28 U.S.C.

§ 1331, this Court has subject matter jurisdiction over the 14th Amendment and Title IX

claims, as they arise under the Constitution or laws of the United States. This Court has

supplemental jurisdiction over the Student Plaintiffs‘ state law claims under 29 U.S.C.

§ 1367(a) because those claims arise out of the same case or controversy as the Student

Plaintiffs‘ federal claims.

       The United States‘ Complaint-in-Intervention raises claims arising under both

Title IV of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000c–2000c-9 (―Title IV‖), and

Title IX. Title IV vests in the United States authority to enforce the Equal Protection

Clause in public schools where alleged discrimination or harassment is based on race,

color, religion, sex, or national origin. See 42 U.S.C. §§ 2000c–2000c-9.2 Title IX

prohibits discrimination on the basis of sex in education programs and activities operated

by recipients of federal financial assistance. See 20 U.S.C. § 1682 (2006); Exec. Order




2
        Under Title IV, the United States, through the Attorney General, has the authority
to file suit against public school districts. Pursuant to 42 U.S.C. § 2000h-2, the United
States, through the Attorney General, may also intervene as of right in private suits
alleging a denial of equal protection. This statute also entitles the United States to seek
the ―same relief as if it had instituted the action.‖ 42 U.S.C. § 2000h-2; see also Fed. R.
Civ. P. 24(a)(1).
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No. 12,250, 45 Fed. Reg. 72,995 (1980); 28 C.F.R. § 0.51 (2011); see also 34 C.F.R.

§ 106.31 (2011) (Title IX implementing regulations).3

       While the District denies that it violated any state or federal law, it has agreed to

resolve the complaints by taking the actions laid out in the proposed Consent Decree in

order to improve its schools and ensure all of its students receive an education free from

harassment on the basis of sex and sexual orientation.

       Both Title IV and Title IX prohibit school districts from discriminating on the

basis of sex, which includes failing to adequately address and prevent sex-based

harassment. Sex-based harassment includes both sexual harassment and harassment for

failure to conform to gender stereotypes.4       As the Supreme Court has made clear,

nonconformity with gender stereotypes is a viable theory of sex discrimination. In Price

Waterhouse v. Hopkins, the plurality opinion held that Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e (―Title VII‖), prohibits employers from ―tak[ing] gender into

account in making employment decisions‖ and ―discriminat[ing] against individuals

[based on] . . . sex stereotypes.‖ 490 U.S. 228, 239, 251 (1989) (internal quotation marks




3
       In suits brought by private plaintiffs to enforce Title IX, the United States, through
the Attorney General, may intervene to ensure the proper application and interpretation of
Title IX. See 20 U.S.C. § 1682 (2006).
4
       Examples of harassment based on nonconformity to gender stereotypes are a male
student who is harassed for wearing pink nail polish or for participating in ballet, or a
female student who is harassed for having short hair or wearing traditionally male
clothing.
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omitted).5 See also Oncale v. Sundowner Offshore Services, Inc., 523 U.S. 75, 82 (1997)

(building off the Price Waterhouse theory to hold that Title VII also protects individuals

from same-sex harassment).

      Similarly, it is well-established that Title IX prohibits harassment and

discrimination on the basis of gender nonconformity.          See, e.g., Montgomery v.

Independent Sch. Dist. No. 709, 109 F. Supp. 2d 1081, 1090 (D. Minn. 2000) (denying a

school district‘s motion for summary judgment because the plaintiff had pled facts – e.g.,

that he was called ―Jessica‖ because he exhibited feminine characteristics – that

supported a claim of harassment based on gender nonconformity); Pratt v. Indian River

Cent. Sch. Dist., No. 7:09-CV-0411, 2011 WL 1204804, at *11 (N.D.N.Y. Mar. 29,

2011) (denying defendant‘s motion to dismiss because ―harassment based on

nonconformity with sex stereotypes is a legally cognizable claim under Title IX‖ and

holding that plaintiff adequately alleged severe and pervasive harassment on that basis);

Doe v. Brimfield Grade Sch., 552 F. Supp. 2d 816, 823 (C.D. Ill. 2008) (―Discrimination

because one‘s behavior does not ‗conform to stereotypical ideas‘ of one‘s gender can


5
       Courts rely on Title VII precedent to analyze discrimination ―on the basis of sex‖
under Title IX. See, e.g., Franklin v. Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 74 (1992)
(using Title VII precedent to recognize a Title IX private cause of action for sexual
harassment); Murray v. N.Y. Univ. Coll. of Dentistry, 57 F.3d 243, 249 (2nd Cir. 1995)
(―[I]n a Title IX suit for gender discrimination based on sexual harassment of a student,
an educational institution may be held liable under standards similar to those applied in
cases under Title VII.‖). In addition, the standard for sex-based harassment under Title
VII enunciated in Oncale, 523 U.S. 75, is often cited by courts reviewing sex-based
harassment claims under Title IX. See, e.g., Davis v. Monroe Cty. Bd. of Educ., 526 U.S.
629, 651 (1999); Montgomery v. Independent Sch. Dist. No. 709, 109 F. Supp. 2d 1081,
1091 (D. Minn. 2000).
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amount to actionable discrimination ‗based on sex.‘‖). While neither statute expressly

applies to harassment solely on the basis of sexual orientation, Title IV and Title IX

protect all students, including lesbian, gay, bisexual and transgender students, from

sexual harassment and gender nonconformity harassment.6                The United States‘

Complaint-in-Intervention focuses on two types of harassment – sexual harassment and

harassment on the basis of gender nonconformity7 – of students in the District, and the

environment that has been created as a result of such harassment.

       Finally, in their Complaints, the Student Plaintiffs have asserted claims under the

MHRA and the Equal Protection Clause, which prohibit discrimination on the basis of

sexual orientation. Section 363A.13 of the MHRA states, in relevant part, ―[i]t is an

unfair discriminatory practice to discriminate in any manner in the full utilization of or

benefit from any educational institution, or the services rendered thereby to any person

because of . . . sexual orientation.‖ Similarly, courts have held that public school districts

may not discriminate on the basis of sexual orientation in enforcing anti-harassment

policies. Nabozny v. Podlesny, 92 F.3d 446 (7th Cir. 1996) (holding that school officials

were not entitled to qualified immunity on student‘s sexual orientation equal protection

claim); Montgomery, 109 F. Supp. 2d at 1089 (adopting the analysis of Nabozny to hold



6
       See, e.g., Pratt at *11, (N.D.N.Y. Mar. 29, 2011) (holding that a gay student‘s
claims for gender nonconformity harassment are cognizable under Title IX and that
―allegations of harassment based on sexual orientation do not defeat a sex stereotyping
harassment claim‖).
7
       The proposed Consent Decree categories these two types of harassment as ―sex-
based harassment.‖
                                              6
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that a school district‘s failure to protect a student from peer harassment based on sexual

orientation could state an equal protection violation).

II.    The United States Conducted a Thorough Investigation and Has Negotiated
       the Terms of the Proposed Consent Decree to Include All Actions Necessary
       to Ensure the District’s Compliance with Federal Laws.

       On November 2, 2010, the United States received a complaint alleging that a

student was being harassed by peers because the student did not act and dress in ways

that conformed to traditional gender stereotypes. Pursuant to its statutory authority, the

United States began a comprehensive investigation. The United States visited the District

multiple times and interviewed over 60 individuals, including current and former

students, parents, teachers, and District staff and administrators. The United States also

requested and reviewed over 7,000 pages of documents from the District. Based upon

this investigation, the United States has alleged that the District was not in compliance

with Title IV and Title IX, as detailed more fully in the United States‘ Complaint-in-

Intervention.

       In June 2011, the United States began initial settlement discussions with the

District to discuss equitable remedies calculated to address the findings of the United

States‘ investigation and the United States‘ allegation that the District needed to take

steps to be fully compliant with federal laws. In July 2011, the Student Plaintiffs filed

their Complaints in this matter, and the United States joined the parties‘ settlement

negotiations at the request of the magistrate judge. The parties met for mediation with

the magistrate judge for a total of twelve days over seven months and participated in

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numerous telephonic negotiation discussions in a concerted effort to come to agreement

on the terms of the proposed Consent Decree.

       The proposed Consent Decree provides for multiple remedies that are specifically

tailored to address the environment in the District‘s schools and structured to ensure

compliance with civil rights laws. For example, the District has agreed to retain two

expert consultants to aid it in implementing the proposed Consent Decree.             The

consultants will assist the District in modifying its policies and procedures if necessary

and appropriate; to improve its harassment training for all staff and students; to hire or

appointing a Title IX Coordinator; and to develop and implement other systems to

monitor harassment and support students in order to ensure long-term positive changes to

the school climate. The United States will work in close partnership with the District and

its consultants to monitor and enforce the terms of the proposed Consent Decree and to

assist the District in its efforts in this regard.

III.   The Proposed Consent Decree is Fair, Reasonable, Adequate, and in the
       Public Interest.

       The proposed Consent Decree is fair to all parties, reasonable in its scope and

terms, adequately addresses the issues identified in the United States‘ and Plaintiffs‘

complaints, and is in the public interest. See Product Fabricators, 2012 WL 264605 at

*2 (―[w]hen reviewing a proposed consent decree, the trial court is to review the

settlement for fairness, reasonableness, and adequacy‖) (citations omitted).

       First, the proposed Consent Decree furthers the objectives of Title IV, Title IX,

and the federal and state laws underlying the claims brought by the Student Plaintiffs.
                                                     8
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See id. (―Consent decrees should … further the objectives of the law on which the

complaint was based‖) (citing Local Number 93, 478 U.S. at 525). The United States is

vested with responsibility to ensure that all students attend school free from harassment

on the basis of sex. See, e.g., OCR‘s Dear Colleague Letter: Harassment and Bullying,

issued October 26, 2010, available at http://www2.ed.gov/about/offices/list/ocr/letters/

colleague-201010.pdf (stating that ―[harassment] fosters a climate of fear and disrespect

that can seriously impair the physical and psychological health of its victims and create

conditions that negatively affect learning, thereby undermining the ability of students to

achieve their full potential.‖). The proposed Consent Decree will help to enable nearly

40,000 students in 37 District schools to learn in an environment free from sex-based and

sexual orientation-based harassment.

       Second, the remedies in the proposed Consent Decree clearly fall within the scope

of the allegations in the complaints, and are reasonable and adequate, designed to remedy

past harassment and promote long-term positive changes in the climate of a very large

school district with a diverse population of students and staff. See Product Fabricators,

2012 WL 264605 at *2 (citing Local Number 93, 478 U.S. at 525) (―[c]onsent decrees

should . . . come within the general scope of the case from the pleadings.‖).

       The United States found that the issues raised in its complaint were not limited to

a single individual or group of students, nor to a single school, and that district-wide

remedies were therefore necessary. The expert consultants provided for in the proposed

Consent Decree will assist the District to design and implement the remedies in the most

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appropriate way for the District and its students. The parties have also determined that

five years is an appropriate term for the duration of the proposed Consent Decree. It will

take approximately one year to design and implement improvements to the District‘s

policies, procedures, training, and other measures included in the terms of the proposed

Consent Decree. The District will then have a full four years, corresponding to a full

cycle of high school students, to implement and assess the impact of the actions taken

through the proposed Consent Decree and to make any necessary modifications.

Allowing for implementation to continue through a four-year cycle of high school

students is important to ensure measurable and lasting improvements in school climate.

       Third, the United States is charged with enforcing federal civil rights laws in

public schools; its very purpose is to act in the public interest. The United States was

instrumental in drafting the terms of the proposed Consent Decree and has determined

that the remedies therein will ensure compliance with federal laws, address and remedy

the issues identified in its complaint, and promote the public interest, including the

interests of students within the District. In dedicating its limited resources to this matter,

the United States determined that its actions in this case were vital to acting in the public

interest. See, e.g., U.S. v. City of Miami, Fla., 614 F.2d 1322, 1332 (5th Cir. 1980)

(holding that ―[w]hen the Justice Department advocates a settlement, we need not fear

that its pecuniary interests will tempt it to agree to a settlement unfair to unrepresented

persons… We also note that the Justice Department must represent the interests of all

citizens, white as well as black, males as well as female.‖); see also E.E.O.C. at *2 (―[a]

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consent decree must be formulated to protect federal interests‖) (citing Frew v. Hawkins,

540 U.S. 431, 437 (2004)).

       Finally, litigation is not a preferable course of action in this matter. Litigation

would be lengthy and time-consuming for the parties and the Court, costly, and

emotionally difficult for Student Plaintiffs, other students, and District staff who may be

required to testify.    By contrast, the proposed Consent Decree puts effective and

appropriately tailored remedies in place immediately. As in City of Miami, ―failure to

enter the decree [in this matter] would result in the loss of ‗the nation's investment in the

resources consumed by the federal agencies in negotiating these decrees, as well as the

chance justly to finalize a matter that otherwise would burden agencies and courts.‘‖ 614

F.2d at 1333 (citing United States v. Allegheny-Ludlum Industries, Inc., 517 F.2d 826,

831 (5th Cir. 1975)). The Parties have agreed to the terms of the proposed Consent

Decree. It is the product of seven months of intensive negotiation, during which many

different options were debated and discussed. The proposed Consent Decree balances the

interests of the Parties and those of all students in the District.

       During the course of the investigation and subsequent mediation, the United States

and the District have maintained a good working relationship. Moreover, the United

States and the District are committed to working collaboratively and cooperatively

throughout the life of the proposed Consent Decree to improve the experience of District

students.



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       In sum, the proposed Consent Decree is a victory for all Parties to this case and for

all students in the District. The Parties are committed to ensuring that District students

have the best possible education in a safe and welcoming environment free from

harassment and agree that the proposed Consent Decree will help the District accomplish

that goal.

       For the reasons set forth above and in the accompanying Motion in Support of the

Proposed Consent Decree and exhibits thereto, the Parties respectfully request that the

Court enter the proposed Consent Decree and order its implementation.




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Dated: March 5, 2012




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Dated: March 5, 2012        FAEGRE BAKER DANIELS LLP


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